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10                       UNITED STATES FEDERAL DISTRICT COURT

11                           WESTERN DISTRICT OF WASHINGTON
12                                                  )
      JAMES and SHAYLEE MEDICRAFT,                  )   CASE NO. 2:21-cv-01263-JCC-MLP
13    husband and wife and the marital community    )
      thereof, themselves and on behalf of their    )
      minor children: JM, AM, EM, MM and NM,        )   FIRST AMENDED COMPLAINT
14
                                                    )   FOR DAMAGES
15                                      Plaintiffs, )
                                                    )   JURY DEMANDED
16    v.                                            )
                                                    )
17    THE STATE OF WASHINGTON; DEREK P. )
      LEUZZI and JANE DOE LEUZZI, husband )
18    and wife and the marital community thereof; )
      ROSS HUNTER and JANE DOE HUNTER, )
      husband and wife and the marital community )
19    thereof; TANESSA SANCHEZ and JOHN )
      DOE SANCHEZ, husband and wife and the )
20    marital community thereof; TABITHA CULP )
      and JOHN DOE CULP, husband and wife and )
21    the marital community thereof; ELIZABETH )
      STERBICK and JOHN DOE STERBICK, )
22    husband and wife and the marital community )
      thereof; CLEVELAND KING, and JANE )
23    DOE KING, husband and wife and the martial )
      community thereof; TABITHA POMEROY )
24    and JOHN DOE POMEROY, husband and )
      wife and the marital community thereof; )
25    PHOENIX        PROTECTIVE CORP., a )

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      Washington State corporation; SHEILA                )
 1    LESLIE and JOHN DOE LESLIE, husband                 )
      and wife and marital community thereof;             )
 2    JAGRUT SHAH and JANE DOE SHAH,                      )
      husband and wife and the marital community          )
 3    thereof; LUFTI AL MARFADI and JANE                  )
      DOE MARFADI, husband and wife and                   )
 4    marital community thereof; COLVIN CIVISH            )
      and JANE DOE CIVISH, husband and wife               )
 5    and marital community thereof and JOHN              )
      DOES 1 through 20, residents of Washington,         )
 6                                                        )
                                        Defendants.       )
 7                                      I.     INTRODUCTION
 8    1. The “interest of parents in the care, custody, and control of their children—is perhaps the
 9        oldest of the fundamental liberty interests recognized by” the Supreme Court of the
10        United States. Troxel v. Granville, 530 U.S. 57, 65, 120 S.Ct. 2054, 147 L.Ed.2d 49
11        (2000). Children “have a substantive due process right to be free from unreasonable risk
12        of harm, including a risk flowing from the lack of basic services, and a right to reasonable

13        safety.” Braam v. State of Washington, 150 Wn. 2d 689, 699-700, 81 P.3d 851 (2003).

14        Defendants, State of Washington and its agents, by perjury and other unlawful means,

15        took the Plaintiff children from their parents, and while the children were in the State’s

16        custody, the State subjected them to grievous psychological, physical, and sexual abuse.

17        Although the Honorable Judge Amini reunited the family nearly a year into their ordeal,

18        nothing can fully mend the harm done by the State and its agents. Plaintiffs come to this

          Court for such relief as the law can provide.
19
                                II.   PARTIES AND JURISDICTION
20
      2. Plaintiffs James and Shaylee Medicraft are a married couple now residing in South
21
          Carolina.
22
      3. Plaintiffs JM, AM, EM, MM, and NM are the minor children of James and Shaylee
23
          Medicraft, also residing in South Carolina (collectively the “children”).
24

25

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 1    4. The State of Washington (the “State”) is a Defendant in this matter due to the actions of

 2        its agency, the Department of Children, Youth and Families (the “Department”).

 3    5. Defendant Derek P. Leuzzi is, upon information and belief, a married individual residing

 4        and/or conducting business in King County, Washington, and an agent of the State of

 5        Washington. Upon information and belief, the acts complained of herein were performed

 6        on behalf of his marital community.

      6. Defendant Ross Hunter is, upon information and belief, a married individual residing
 7
          and/or conducting business in King County, Washington, and an agent of the State of
 8
          Washington. Upon information and belief, the acts complained of herein were performed
 9
          on behalf of his marital community.
10
      7. Defendant Tanessa Sanchez is, upon information and belief, a married individual residing
11
          and/or conducting business in King County, Washington and an agent of the Department.
12
          Upon information and belief, the acts complained of herein were performed on behalf of
13
          her marital community.
14
      8. Defendant Tabitha Culp is, upon information and belief, a married individual residing
15
          and/or conducting business in King County, Washington and an agent of the Department.
16
          Upon information and belief, the acts complained of herein were performed on behalf of
17
          her marital community.
18
      9. Defendant Elizabeth Sterbick is, upon information and belief, a married individual
19        residing and/or conducting business in King County, Washington and an agent of the
20        Department. Upon information and belief, the acts complained of herein were performed
21        on behalf of her marital community.
22    10. Defendant Cleveland King is, upon information and belief, a married individual residing
23        and/or conducting business in King County, Washington and an agent of the Department.
24        Upon information and belief, the acts complained of herein were performed on behalf of

25        his marital community.

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 1    11. Defendant Tabitha Pomeroy is, upon information and belief, a married individual

 2        residing and/or conducting business in King County, Washington and an agent of the

 3        Department. Upon information and belief, the acts complained of herein were performed

 4        on behalf of her marital community.

 5    12. Defendant Phoenix Protective Corporation (“Phoenix”) is a Washington for profit

 6        corporation doing business in King County.

      13. Defendant Sheila Leslie is an owner of Phoenix, and is, upon information and belief, a
 7
          married individual residing and/or conducting business in King County, Washington and
 8
          an agent of the Department. Upon information and belief, the acts complained of herein
 9
          were performed on behalf of her marital community.
10
      14. Defendant Jagrut Shah is an owner of Phoenix, and is, upon information and belief, a
11
          married individual residing and/or conducting business in King County, Washington and
12
          an agent of the Department. Upon information and belief, the acts complained of herein
13
          were performed on behalf of hi marital community.
14
      15. Defendant Lufti Al Marfadi is or was an employee of Phoenix, and is, upon information
15
          and belief, a married individual residing and/or conducting business in King County,
16
          Washington and an agent of the Department. Upon information and belief, the acts
17
          complained of herein were performed on behalf of his marital community.
18
      16. Defendant Colvin Civish is or was an employee of Phoenix, and is, upon information and
19        belief, a married individual residing and/or conducting business in King County,
20        Washington and an agent of the Department. Upon information and belief, the acts
21        complained of herein were performed on behalf of his marital community.
22    17. Additional unnamed Defendants John Does are, on information and belief, agents of the
23        State of Washington and/or Phoenix and residents of Washington, names currently
24        unknown, whose most material misconduct is alleged below.

25

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 1    18. The State Court from which this action was removed, with the consent of the State of

 2        Washington, had jurisdiction over this action under RCW 2.08.010.

 3    19. This Court has jurisdiction over all claims against the State, and including later

 4        amendment, when the State waived any 11th Amendment protections pursuant to their

 5        consent to removal and further pursuant to Lapides v. Bd. of Regents of Univ. Sys. of

 6        Georgia, 535 U.S. 613, 613, 122 S. Ct. 1640, 1640, 152 L. Ed. 2d 806 (2002); see, also,

          Embury v. King, 361 F.3d 562 (9th Cir. 2004), as amended (May 17, 2004), amended,
 7
          No. 02-15030, 2004 WL 1088297 (9th Cir. May 17, 2004).
 8
      20. Venue is appropriate in the Western District where the acts and omissions complained of
 9
          occurred in the Western District.
10
                                               III. FACTS
11
      21. On or about December 6, 2019, the five children were taken from their parents by the
12
          State, following a prior brief removal and reunion.
13
      22. The children ranged in age from one to nine years old when removed.
14
      23. DCYF knew Mrs. Medicraft was capable of caring for her children prior to the children
15
          being taken December 6, 2010; Megan Meyer and Tanessa Sanchez, two DCYF social
16
          workers assigned to work with the family during the time that Mrs. Medicraft had the
17
          children in her care in shelter care status, both testified to the mother's ability to care for
18
          the children on her own, including out in the community; Megan Meyer testified that she
19        supervised three visits between the father and children and that the father was
20        affectionate, encouraged the children to take turns, and she had no concerns about
21        violence or aggression during visits; Michelle Ruelas, a forensic social worker with over
22        40 years of experience in child welfare, concurring with Ms. Meyer’s assessment. Exhibit
23        A, Order Dismissing Dependency, Fact Nos. 10-14 & 18-19.
24    24. The Department used false sworn statements under penalty of perjury in court

25        proceedings to justify taking and/or keeping the children from their home.

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 1    25. On cross-examination, Tanessa Sanchez admitted under oath that prior statement in her

 2        sworn declaration (signed December 6, 2019), used to remove the children, were false.

 3        Exhibit PP.

 4    26. Ms. Sanchez’ testimony on cross-examination proved that her prior declaration used to

 5        remove the children, that she personally observed the father violated a purported no-

 6        contact order from New York in November of 2019.

      27. But Ms. Sanchez had never met or seen Mr. Medicraft in November 2019.
 7
      28. Even if Ms. Sanchez had observed this, there is no legal authority for the State to remove
 8
          children from their mother because their father violated a no-contact order from another
 9
          state.
10
      29. On cross-examination, Ms. Sanchez’ admitted her declaration further misled that Court,
11
          omitting that multiple prior investigations of the Medicraft family were unfounded.
12
          Exhibit PP.
13
      30. Ms. Sanchez further stated, falsely, in a sworn declaration that she observed a decline in
14
          Mrs. Medicraft’s care of the children.
15
      31. Casenotes and other evidence further prove that Ms. Sanchez’ statements were false.; the
16
          State even had Mrs. Medicraft care for the children in a motel room instead of at home,
17
          despite their claims she was unfit to parent.
18
      32. Defendant Sanchez also, falsely, testified that Mrs. Medicraft admitted to pulling her
19        children’s hair.
20    33. On information and belief, these, and other, false sworn statements were intentionally
21        fabricated by Defendant Derek Leuzzi, a Washington State Assistant Attorney General,
22        and by Defendants Elizabeth Sterbick, Tabitha Culp, Tanessa Sanchez, and/or Cleveland
23        King, social workers employed by the Department.
24    34. Defendants Sanchez and Culp, testified under oath and in declarations that the Medicrafts

25        have a history of moving from state to state when CPS gets involved.

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 1    35. The Medicrafts do not have a history of moving from state to state when CPS gets

 2        involved.

 3    36. Even if they did have such a history, the removal of the Children would not be justified

 4        under Washington law.

 5    37. The State alleged that Mrs. Medicraft failed to comply with a shelter care order by

 6        allowing the father to have access to the children outside of visitation.

      38. The State was unable to support their contention and even if the State could, such a
 7
          violation would not, under Washington State law, justify the removal of the children.
 8
      39. The State alleged Mrs. Medicraft rejected DCYF intervention and refused access to the
 9
          children; Judge Amini found this to be false as well. Exhibit A.
10
      40. Defendant Leuzzi further failed to follow the law, working to remove the children
11
          without an imminent threat and without a court order.
12
      41. Defendant Leuzzi further, without basis, misrepresented a history of domestic violence;
13
          no such history exists.
14
      42. Defendant Leuzzi futher, without basis, sought to deprive Mr. Medicraft of visitation
15
          rights.
16
      43. Defendant Leuzzi, further, without basis, sought court orders to medicate the Children.
17
      44. At the same time, the State failed to provide proper medical and psychiatric care for the
18
          Children.
19    45. Elizabeth Strebick further lied in an email regarding Mr. Medicraft on December 18,
20        2019. Exhibit LL; video taken of the alleged incident directly contradicts her statements.
21        Exhibit MM.
22    46. The Defendants knew, or should have known, that the false sworn statements were
23        proffered by individuals unable to make such statements truthfully.
24    47. The State raised allegations related to the family in New York; but the State had no actual

25        evidence when it brought the dependency .

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 1    48. As Judge Amini well summed: “I also did not hear any testimony from New York. I mean

 2        New York school, New York daycare, New York neighbors, Yew [sic] York anybody.”

 3        Exhibit CC.

 4    49. As Judge Amini also found, the State’s “investigation wasn’t done correctly or

 5        thoroughly.” Exhibit CC.

 6    50. Despite this improper and non-thorough investigation, and despite Ms. Meyer, Ms.

          Sanchez, and Ms. Ruelas assessment, DCYF removed the children in December 2019 on
 7
          the premise that Mrs. Medicraft “would leave the state with the children;” Mrs.
 8
          Medicraft’s “history with DCYF, however showed that DCYF had previously removed
 9
          the children, albeit for a short time, and the mother had not left the state. The history of
10
          the family shows that the Mother had remained in the state with her children and worked
11
          with DCYF and the school.” Exhibit A, Fact No. 52.
12
      51. There is no legal authority to remove children because DCYF fears they might move.
13
      52. The Department, in violation of its own policy, and law, further separated the children
14
          from one another.
15
      53. Not until ten months after the children were wrongfully seized by the Department, were
16
          they reunited with their parents, by the Honorable Susan H. Amini where, during a
17
          dependency hearing, Hon. Amini orally ruled for the State to immediately return the
18
          children to the Medicrafts. Hon. Amini’s written order dismissing the dependency was
19        later issued.
20    54. The State attempted to use Mrs. Medicraft’s childhood California child protective
21        services files, including information protected by HIPAA, against her and her family at
22        the dependency hearing.
23    55. While in the State’s custody, the three older children, and possible a fourth, were forced
24        by agents of the Department to spend nights in the Department’s office, hotels, and State

25        vehicles. Order Dismissing Dependency, Fact No. 24 & 57.

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 1    56. A typical day in the life at the Kent Office is recounted, under oath by Jason Bragg.

 2        Exhibit RR.

 3    57. Mr. Bragg observed the JM and AM forced to stand in the rain guarded by Phoenix

 4        security, while Defendant Cleveland King ate his breakfast from the warm and dry office.

 5        Exhibit RR.

 6    58. Mr. Bragg observed JM and AM locked all day in the dirty visitation room with no

          furniture. Exhibit RR.
 7
      59. As can be expected of a young child locked in a single room with no toys or educational
 8
          material, Mr. Bragg observed AM run across a busy street once able to escape. Exhibit
 9
          RR.
10
      60. Contrary to the Department’s entire theory of their case, Mr. Bragg also observed the
11
          children’s behavior change “like someone have turned it off with a switch” when their
12
          mother was allowed visitation. Exhibit RR.
13
      61. Agents of the Department forced the children to sleep in cars expressly as punishment.
14
      62. Agents of the Department purposefully, and as punishment, would refuse the children
15
          blankets during overnight stays in cars, and would roll down windows and adjust climate
16
          control to make the children less comfortable.
17
      63. Attached as Exhibit B is a Whistleblower Complaint describing a policy of punishing
18
          children as described above and instituted by Defendant Tabitha Pomeroy.
19    64. Attached as Exhibit C is an internal Departmental memo describing one of the children’s
20        car stays, during which he was deprived of a blanket and was told he must “be on [his]
21        best behavior to stay in hotel rooms.”
22    65. The State also put the children in further danger by retrofitting their vehicles with seatbelt
23        locks, contrary to department policy.
24    66. Department casenotes further confirm the children were forced to spend the night in State

25        vehicles. Exhibit SS.

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 1    67. While in the State’s custody, at least the three older children were forced to spend days

 2        in a locked visitation room at the Department’s Kent Office, stripped of all furniture and

 3        toys. Order Dismissing Dependency, Fact No. 31.

 4    68. Attached as Exhibits D–F are images of the visitation room described above.

 5    69. Agents of the Department, names currently unknown, purposefully, and as punishment,

 6        would take the children’s clothing, including taking their shoes and jackets, before

          forcing them to stand outside in the rain. Exhibit WW.
 7
      70. While in the State’s custody, the three older children were physically assaulted by agents
 8
          of the Department, names currently unknown. Order Dismissing Dependency, Fact No.
 9
          33.
10
      71. Other children have been subjected to the same treatment; Exhibit II is a picture taken by
11
          Shaylee of another child on the floor in the Kent Office, this child was ignored when they
12
          asked staff for food and water, which Ms. Medicraft then provided.
13
      72. The Children were threatened with sleep deprivation. Exhibit VV.
14
      73. In addition to the facts found by Judge Amini, the children were also beaten, held down,
15
          thrown to the ground, handcuffed, and subjected to basket holds so severe that, on at least
16
          one occasion, one of the children lost consciousness.
17
      74. The three older children were physically assaulted by agents of Defendant Phoenix.
18
      75. During one such episode of physical abuse, a social worker for the Department called the
19        Kent Police Department to report their own security, provided by Phoenix.
20    76. Despite complaints, the Department failed to investigate the assaults. The Department
21        failed to take necessary action to prevent assaults by its agents.
22    77. While in the State’s custody, the three older Medicraft Children were physically assaulted
23        by other children.
24    78. At least some of these assaults took place in overcrowded hotel rooms and Department

25        offices.

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 1    79. Attached as Exhibit G is an image of one of the children’s pillows, soaked in blood from

 2        the night after one such assault.

 3    80. Despite complaints, the Department failed to investigate these assaults either. The

 4        Department failed to take necessary action to prevent assaults. The Department even

 5        allowed assaultive Phoenix Security personnel to continue guarding the Children.

 6    81. Attached as Exhibits H–U are photographs, redacted where appropriate to protect the

          child’s identity, which depict physical injuries sustained by the children while in the
 7
          State’s custody.
 8
      82. Attached as Exhibit V-X are video of the children, blurred to protect their identities,
 9
          describing abuse at the hand of the Department.
10
      83. While in the State’s custody, at least one of the three older children was sexually
11
          assaulted by an agent of the Department, name currently unknown.
12
      84. Despite the child’s complaint, the Department failed to investigate this assault either. The
13
          Department failed to take necessary action to prevent assaults by its agents.
14
      85. While in the State’s custody, including in the presence of State agents who did not
15
          intervene, at least one of the children was sexually assaulted by older children. Exhibit
16
          WW.
17
      86. The Department was on notice of the assaults of the children, including the sexual
18
          assaults. Attached as Exhibits Y & Z are email strings from Plaintiff James Medicraft to
19        various Defendants.
20    87. On April 10, 2021 JM complained of inappropriate touching and painful restraints at the
21        “camp” he was sent to during the day. Exhibit TT.
22    88. Despite the child’s complaint, the Department failed to investigate the assault. The
23        Department failed to take necessary action to prevent assaults.
24    89. On at least one occasion, when one of the children complained of abuse, and asked to

25        speak to a Judge, the child was placed in overnight solitary confinement as a punishment.

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 1    90. When the parents brought legitimate safety concerns to the attention of the Department,

 2        they were threatened with the loss of visitation rights, which were ultimately, and

 3        improperly, terminated by the Department.

 4    91. The Department, on at least one occasion, attempted to coerce the children into perjuring

 5        themselves through threats.

 6    92. Exhibit X, above, further describes the Department coercing the children to run from

          their parents in an attempt to disparage the parents.
 7
      93. Exhibit GG, a video, shows AM telling his father that he was threatened by the
 8
          Department if he did not pretend to “be mean” to his father.
 9
      94. Exhibit HH, a video, shows JM telling his father DCYF told him to lie and state that his
10
          father was abusive.
11
      95. At least one of the children was injured in a car accident while an agent of the Department
12
          was operating the motor vehicle the child was riding in.
13
      96. The Department failed to perform proper evaluation of the children before or while
14
          having them in custody. Order Dismissing Dependency, Fact No. 38.
15
      97. The Department caused or allowed “the children [to be] placed in difficult experiences
16
          directly prior to the evaluations,” and misinformed or failed to inform the evaluator of
17
          these and other material facts about the children to defeat dismissal of the dependency.
18
          Order Dismissing Dependency, Facts No. 30–34.
19    98. Judge Amini further stated at her oral ruling, regarding the Department’s conduct in
20        setting up the Children’s evaluation: “why did you set it up this way? … Would you do
21        this for yourself? For your child? For your nephew? Niece? … does that makes sense?
22        Honestly it does not.” Exhibit CC.
23    99. While in the Department’s custody, at least the three older children were, without
24        prescription, and without the attendance of any licensed medical professional, and

25

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 1        without parental advice, routinely medicated by agents of the Department, names

 2        currently unknown.

 3    100. Exhibit Y is a photograph of James Medicraft holding a handful of what appears to be

 4        Benadryl, found in one of the children’s possession while in the Department’s custody.

 5    101. On information and belief, the Department gave the children medication for off-label

 6        purposes, including, to reduce hunger and cause drowsiness, to make the children easier

          to control, and to administer psychotropic medications without parental consent.
 7
      102. The Department’s off-label, unprescribed use of medication on the children was
 8
          intentionally harmful, reckless, or at least grossly negligent.
 9
      103. On many occasions, the Department failed to give some or all of the children enough to eat
10
          while they were in the Department’s custody.
11
      104. On several occasions, agents of the Department, names currently unknown, deprived
12
          some of the children of food as punishment.
13
      105. The three older children were deprived of the use of the bathroom throughout the day
14
          while being held in Department offices.
15
      106. The Department lost physical custody the three older children on repeated occasions.
16
      107. The children were denied regular education while in the Department’s custody,
17
          including support services under the three older children’s Individualized Education
18
          Plans.
19    108. The children were denied healthcare on certain occasions when they suffered injuries
20        or illnesses while in the Department’s custody.
21    109. The children were denied appropriate psychiatric case while in the Department’s
22        custody.
23    110. Both AM and EM were deprived of their prescribed inhalers while in the Department’s
24        custody.

25

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 1    111. MM, while in the Department’s custody was denied follow-up visits to Seattle

 2        Children’s Hospital, despite the Department’s knowledge of a serious heart condition.

 3    112. When the Medicraft parents inquired about MM’s follow-up, the Department lied and

 4        claimed it occurred when it did not.

 5    113. The Department was aware that the three older children required eyeglasses but lost

 6        and/or took their eyeglasses from them and failed to provide them with routine and

          necessary optometrist visits.
 7
      114. The children further suffered neglect of their dental health after being taken from their
 8
          parents, including the loss of JM’s orthodontic spacer.
 9
      115. Agents of the Department, names currently unknown, expressly threatened the three
10
          older children with institutionalization out-of-state, including at institutions which other
11
          states, and Disability Rights Washington, have deemed unfit to receive foster children.
12
      116. Agents of the Department, names currently unknown, expressly threatened the four
13
          older children with arrest, and called the police to further the threat.
14
      117. Contrary to their own policy and in violation of RCW 13.34.025, the Department
15
          improperly withheld or threatened to withhold the Medicraft parents’ visitation rights to
16
          coerce their and their children’s cooperation or silence.
17
      118. Contrary to their own policy and in violation of RCW 13.34.025 and Braam v.
18
          Washington, the Department improperly withheld or threatened to withhold the
19        children’s right to visit one another to coerce cooperation or silence from them. Exhibit
20        UU.
21    119. Ms. Culp “to acknowledge[d] on cross-examination that the father's visits were
22        summarily suspended by the Department without a court order on January 24, 2020.”
23        Exhibit A, Finding of Fact No. 31.
24    120. James Medicraft, acting pro se, filed a complaint in the Federal District Court in and

25        for the Western District of Washington.

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 1    121. A true and correct copy of that pleading, as redacted by Court Order, is attached as

 2        Exhibit BB, and the facts alleged therein are incorporated as if fully set forth herein.

 3    122. Despite Judge Amini’s oral ruling to reunite the family, the Department refused, and

 4        an emergency telephonic hearing had to be held to enforce the Court’s oral ruling, which

 5        is further supported by Hon. Amini’s written orders.

 6    123. Once reunited, Mr. and Mrs. Medicraft took their children to South Carolina. Since

          their move, someone calling from a Washington State area code phone number has
 7
          repeatedly contacted South Carolina’s Child Protective Services agency to falsely report
 8
          abuse of the children and the Medicraft’s younger child.
 9
      124. South Carolina’s Child Protective Services agency has investigated the Medicrafts and
10
          found no basis for these complaints.
11
      125. On information and belief, one or more agents of the Department, names currently
12
          unknown, are responsible for these false reports to South Carolina, to harass Plaintiffs.
13
      126. False reporting from Washington State area codes has continued even during the
14
          pendency of this lawsuit.
15
      127. As recently as September 21, 2021 state agents have attempted to access the children’s
16
          email accounts. Exhibit JJ is a copy of a Google alert received by Mr. Medicraft of
17
          yvettemeredithcubero@gmail.com; Ms. Cubero works for DCFY.
18
      128. The children have developed serious behavioral issues and other signs of trauma since,
19        and as a result of, their improper removal from their parents and the abuse they suffered
20        while in the Department’s custody and at the Department’s hands.
21    129. “[T]he timeline of the behaviors shows that the behaviors began and worsened as
22        Department intervention increases…. At different times in January and February of 2019
23        [sic] [the three older] children were hospitalized at Seattle Children’s Hospital. Prior to
24        their removal, none of the children had required this type of intervention.” Order

25        Dismissing Dependency, Fact No. 48.

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 1    130. On December 26, 2019, Elizabeth Sterbick physically accosted Mrs. Medicraft, which

 2        was reported to the Kent Police Department, Case No. 19-18684.

 3    131. The Department routinely called the police department to intimidate the children,

 4        including a six-year-old girl.

 5    132. Plaintiffs have incurred, and will continue to incur, costs and expenses for medical care

 6        and therapy to try to undo the harm done to them by Defendants.

      133. In all their acts alleged above, Phoenix agents acted within the scope of their agency
 7
          and Phoenix is fully liable for their acts.
 8
      134. Defendants knew or should have known that their misconduct would violate Plaintiffs’
 9
          clearly established rights.
10
      135. In addition to knowing that there are violating clearly established rights, DCFY has
11
          routinely lied to the public.
12
      136. Despite handcuffing, vehicles with seatbelt locks, and security holds being put on the
13
          Medicraft children, at a July 15, 2020, DCYF oversight committee hearing, Defendant
14
          Ross Hunter told members of the Washington State legislature that children are never
15
          restrained.
16
      137. Defendant Hunter acknowledged that DCYF cannot legally use the same restraints as
17
          juvenile rehabilitation and that DCYF does not; that was a lie.
18
      138. Defendant Hunter also represented those children are not placed out of state; but the
19        Medicrafts were threatened with the same.
20    139. Defendant Hunter also claimed that most night-to-night placements are children
21        refusing placements; this is false.
22    140. Defendant Hunter also claimed that the only children forced to sleep in cars and hotels
23        were teen-aged and that it was incredibly rare; this is also false.
24

25

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 1         IV. FIRST CAUSE OF ACTION – Deprivation of James Medicraft’s Rights

 2                                           under 42 U.S.C. § 1983

 3    141. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.

 4    142. James Medicraft, as the father of the children, has a fundamental liberty interest in the

 5        care, custody, and management of his children.

 6    143. James Medicraft’s liberty interest was violated when the State improperly removed his

          children.
 7
      144. James Medicraft’s liberty interest was violated when the State abused and/or allowed
 8
          for the abuse of his children.
 9
      145. James Medicraft’s liberty interest was violated when the State provided false testimony
10
          in the matter of his children’s dependency.
11
      146. James Medicraft’s liberty interest was violated when the State arranged for negative
12
          evaluations.
13
      147. James Medicraft’s liberty interest was violated when the State improperly denied him
14
          visitation with his children.
15
      148. James Medicraft has been damaged in an amount to be proven at trial.
16
         V.   SECOND CAUSE OF ACTION – Deprivation of Shaylee Medicraft’s Rights
17
                                             under 42 U.S.C. § 1983
18
      149. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
19    150. Shaylee Medicraft, as the mother of the children, has a fundamental liberty interest in
20        the care, custody, and management of her children.
21    151. Shaylee Medicraft’s liberty interest was violated when the State improperly removed
22        her children.
23    152. Shaylee Medicraft’s liberty interest was violated when the State abused and/or allowed
24        for the abuse of her children.

25

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 1    153. Shaylee Medicraft’s liberty interest was violated when the State arranged for negative

 2        evaluations.

 3    154. Shaylee Medicraft’s liberty interest was violated when the State provided false

 4        testimony in the matter of her children’s dependency.

 5    155. Shaylee Medicraft’s liberty interest was violated when the State improperly denied her

 6        visitation with her children.

      156. Shaylee Medicraft’s liberty interest was violated when the State attempted to use her
 7
          prior, and irrelevant, medical records against her.
 8
      157. Shaylee Medicraft has been damaged in an amount to be proven at trial.
 9
                  VI. THIRD CAUSE OF ACTION – Deprivation of JM’s Rights
10
                                             under 42 U.S.C. § 1983
11
      158. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
12
      159. JM has a fundamental liberty interest in living with his parents and not being abused
13
          by agents of the State.
14
      160. JM’s fundamental liberty interest was infringed by his improper removal by the State
15
          from his parents.
16
      161. JM’s fundamental liberty interest was infringed upon through the abuse he suffered in
17
          State custody.
18
      162. JM’s fundamental liberty interest was violated when the State acted in a way that would
19        essentially guarantee negative evaluations.
20    163. JM has been damaged in an amount to be proven at trial.
21             VII. FOURTH CAUSE OF ACTION – Deprivation of AM’s Rights
22                                          under 42 U.S.C. § 1983
23    164. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
24    165. AM has a fundamental liberty interest in living with his parents and not being abused

25        by agents of the State.

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 1    166. AM’s fundamental liberty interest was infringed by his improper removal by the State

 2        from his parents.

 3    167. AM’s fundamental liberty interest was infringed upon through the abuse he suffered in

 4        State custody.

 5    168. AM’s fundamental liberty interest was violated when the State acted in a way that

 6        would essentially guarantee negative evaluations.

      169. AM has been damaged in an amount to be proven at trial.
 7
                 VIII. FIFTH CAUSE OF ACTION – Deprivation of EM’s Rights
 8
                                             under 42 U.S.C. § 1983
 9
      170. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
10
      171. EM has a fundamental liberty interest in living with his parents and not being abused
11
          by agents of the State.
12
      172. EM’s fundamental liberty interest was infringed by his improper removal by the State
13
          from his parents.
14
      173. EM’s fundamental liberty interest was infringed upon through the abuse he suffered in
15
          State custody.
16
      174. EM’s fundamental liberty interest was violated when the State acted in a way that
17
          would essentially guarantee negative evaluations.
18
      175. EM has been damaged in an amount to be proven at trial.
19               IX. SIXTH CAUSE OF ACTION – Deprivation of MM’s Rights
20                                           under 42 U.S.C. § 1983
21    176. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
22    177. MM has a fundamental liberty interest in living with her parents and not being abused
23        by agents of the State.
24    178. MM’s fundamental liberty interest was infringed upon through the abuse she suffered

25        in State custody.

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 1    179. MM’s fundamental liberty interest was infringed by her improper removal by the State

 2        from his parents.

 3    180. MM has been damaged in an amount to be proven at trial.

 4                X.    SIXTH CAUSE OF ACTION – Deprivation of NM’s Rights

 5                                           under 42 U.S.C. § 1983

 6    181. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.

      182. NM has a fundamental liberty interest in living with his parents and not being abused
 7
          by agents of the State.
 8
      183. NM’s fundamental liberty interest was infringed by his improper removal by the State
 9
          from his parents.
10
      184. NM has been damaged in an amount to be proven at trial.
11
                XI. SEVENTH CAUSE OF ACTION – Assault and Battery of JM
12
      185. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
13
      186. While in the State’s custody, JM was subjected to harmful bodily contact.
14
      187. While in the State’s custody, JM was placed in imminent fear of bodily harm.
15
      188. These episodes include, without limitation, as testified to by Ms. Culp on behalf of the
16
          State: “[JM] was assaulted by a [Phoenix] security guard, that on another occasion a
17
          [Phoenix] security guard threatened to hit [JM] with a belt. Exhibit A, Fact No. 24.
18
      189. Ms. Culp further testified that: “[JM] reported sexual abuse by one of the overnight
19        social workers in March/April 2020.” Id.
20    190. On January 22, 2020 JM was assaulted by Phoenix security guards Defendants Marfadi
21        and Civish who push JM to the ground multiple times, pinned him to the ground, and
22        “threw [JM] bodily into the back of the car.” Exhibit FF.
23    191. Social workers were disturbed enough by this episode that they reported Defendant
24        Marfadi to law enforcement (Kent Police Officer Madriana took down incident report

25        No. TP000004864). Exhibit FF.

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 1    192. Despite Defendant Marfadi’s criminal behavior, the Department continued to assign

 2        him to guard the children and on he pinned JM to a bed with his hand on the child’s neck.

 3    193. On March 15, 2020 JM was also restrained by Social Worker Hingergartd on an air

 4        mattress in a hotel room.

 5    194. Exhibit KK was taken after another time JM was physically abused by state agents.

 6    195. JM has been damaged in an amount to be determined at trial.

                  XII. EIGHTH CAUSE OF ACTION – Assault and Battery of AM
 7
      196. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
 8
      197. While in the State’s custody, AM was subjected to harmful bodily contact.
 9
      198. While in the State’s custody, AM was placed in imminent fear of bodily harm.
10
      199. These episodes include, without limitation, as testified to by Ms. Culp, AM was
11
          assaulted by a Phoenix Security guard the day before his evaluation. Exh. A, Finding No.
12
          ¶ 39.
13
      200. As evidenced by the Department’s own casenotes, AM was further both assaulted and
14
          battered on January 3, 2019 when he was dragged by his shirt from the DCFY Kent
15
          Office, knocked to the ground, pinned against a car, and told he would be smacked upside
16
          the head if he didn’t shut up. Exhibit DD.
17
      201. Marks and bruising were additionally observed on the children, and DCYF put on
18
          notice on December 20, 2019. Exhibit EE.
19    202. On or about May 23, 2020 AM was handcuffed around the ankles by a Phoenix security
20        guard; case notes claim that the Phoenix security “gave” the handcuffs to AM (itself
21        grossly negligent), but AM and JM deny that and stated that AM was forcibly handcuffed
22        around the ankle. Exhibit NN.
23    203. Jennifer Watts previously testified to AM being placed in a “security hold” screaming
24        by a security guard. Exhibit OO.

25    204. AM has been damaged in an amount to be determined at trial.

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 1                XIII. NINTH CAUSE OF ACTION – Assault and Battery of EM

 2    205. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.

 3    206. While in the State’s custody, EM was subjected to harmful bodily contact.

 4    207. While in the State’s custody, EM was placed in imminent fear of bodily harm.

 5    208. Such episodes include, without limitation, as testified by Ms. Culp: “[EM] was slapped

 6        across the face by a social worker.” Exhibit A, Fact No. 24.

      209. EM has been damaged in an amount to be determined at trial.
 7
         XIV. TENTH CAUSE OF ACTION – Assault and Battery of Shaylee Medicraft
 8
      210. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
 9
      211. Elizabeth Sterbick subjected Shaylee Medicraft to harmful bodily contact.
10
      212. Elizabeth Sterbick placed Shaylee Medicraft in imminent fear of bodily harm.
11
      213. Shaylee Medicraft has been damaged in an amount to be determined at trial.
12
                       XV.     ELEVENTH CAUSE OF ACTION – Negligence
13
      214. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
14
      215. The State had a duty to care for and to prevent physical and emotional harm to the
15
          children while they were in its custody, and a duty to the children and their parents to
16
          conduct evaluations in good faith, competently, and with due care, a duty to investigate
17
          complaints, and a duty to supervise its agents.
18
      216. The State breached its duties to Plaintiffs.
19    217. Plaintiffs were physically and emotionally harmed by the State’s breach of its duties to
20        them.
21    218. Mr. Shah and Mrs. Leslie have been negligent in their hiring of those Phoenix security
22        guards who physically abused and/or threatened the Children.
23    219. AM was additionally injured in a car accident in a DCYF vehicle in early December
24        2019. Exhibit EE.

25

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 1        220. Plaintiffs have been damaged in an amount to be determined at trial by the negligence

 2           of the State, Phoenix, and each’s principals and agents.

 3                      XVI. TWELFTH CAUSE OF ACTION – Negligent and/or

 4                                    Intentional Infliction of Emotional Distress

 5        221. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.

 6        222. Defendants engaged in extreme and outrageous conduct toward Plaintiffs.

          223. The complained of conduct was intentional and/or reckless.
 7
          224. The complained of conduct actually resulted in severe emotional distress to Plaintiffs.
 8
          225. Plaintiffs have been damaged in an amount to be determined at trial.
 9
                         XVII. THIRTEENTH CAUSE OF ACTION – Civil Conspiracy
10
          226. Plaintiffs re-allege all allegations of this Complaint as if fully set forth herein.
11
          227. The Defendants combined to accomplish both unlawful purposes and/or lawful purposes by
12
             unlawful means.
13
          228. The Defendants entered into an agreement to violate the rights of the Plaintiffs.
14
          229. Plaintiffs have been damages by this civil conspiracy.
15
                                             PRAYER FOR RELIEF
16
                NOW, THEREFORE, Plaintiffs, pray for the following:
17
          1. Judgment against Defendants on all claims;
18
          2. Damages in an amount to be proven at trial;
19        3. Punitive damages as allowed by statute, where the Defendants’ conduct was reckless
20           and/or callously indifferent;
21        4. Reasonable attorney’s fees and costs as authorized by statute; and
22        5. Such other and further relief as the Court deems just and equitable.
23   //
24
     //
25

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 1
            DATED this 12th day of October 2021.
 2

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 4
                                                /s/ Nathan J. Arnold
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